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                   EXHIBIT M
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            COPY OF E-FILE
           CORRESPONDENCE
                   SR 1-7226013290
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                              Correspondence Activities Report




     SR 1-7226013290
     Activity Type: Email - Outbound
     Created on: 12/14/2018 9:13:00 PM
     Subject: Confirmation of Receipt
     Body:

     THIS IS AN AUTOMATED EMAIL - PLEASE DO NOT REPLY.


     Your Application and payment for the work The Dance by Alfonso Ribeiro -
     Variation B were received by the U.S.Copyright Office on 12/14/2018.


     PLEASE NOTE: Your submission is not complete until you upload or mail the
     material you are registering. To do so, logon
     to https://eco.copyright.gov/eService enu/ and click on case number
     1-7226013290 in the Open Cases table. Follow the instructions to either upload a
     digital copy or mail a physical copy (with shipping slip attached) of the work being
     registered. Additional instructions and requirements for submitting the material
     being registered can be found at http://www.copyright.gov/eco/tips/.


     SHIPPING SLIPS: If you mail physical copies of the material being registered, the
     effective date of registration will be based on the date on which we receive the
     copies WITH CORRESPONDING SHIPPING SLIPS ATTACHED.


     A printable copy of the application will be available within 24 hours by clicking the
     My Applications link in the left top most navigation menu of the Home screen.


     You may check the status of this claim via eCO using this number 1-7226013290.
     If you have questions or need assistance, Copyright Office contact information can
     be found at http://www.copyright.gov/help/index.html#general.


     United States Copyright Office
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     Activity Type: Email - Outbound
     Created on: 01/10/2019 10:25:10 PM
     Subject: Acknowledgement of Uploaded Deposit
     Body:
     THIS IS AN AUTOMATED EMAIL. PLEASE DO NOT REPLY. Thank you for
     submitting your registration claim using the Electronic Copyright Office (ECO)
     System. The following files were successfully uploaded for service request
     1-7226013290 File
     Name :will_smith_alfonso_ribeiro_and_dj_jazzy_jeff_perform_the_carlton_danc
     e_-_the_graham_norton_show-edited.mp4 File Size :24654479 KB
     Date/Time :1/10/2019 10:20:48 PM [THREAD ID: 1-3CY70N7] United States
     Copyright Office
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     Activity Type: Email - Outbound
     Created on: 01/10/2019 10:25:11 PM
     Subject: Acknowledgement of Uploaded Deposit
     Body:
     THIS IS AN AUTOMATED EMAIL. PLEASE DO NOT REPLY. Thank you for
     submitting your registration claim using the Electronic Copyright Office (ECO)
     System. The following files were successfully uploaded for service request
     1-7226013290 File Name :the_dance_-_the_graham_norton_show-edited.mp4
     File Size :24654479 KB Date!Time :1/10/2019 10:21:41 PM [THREAD ID:
     1-3CY70NS] United States Copyright Office
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     Activity Type: Letter - Outbound
     Created on: 01/22/2019 11:46:30 AM
     Comments: See Merged Correspondence
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                 United States Copyright Office
                 Library of Congress· IOI Independence Avenue SE· Washington DC 20559-6000 · www.copyright.gov




January 22, 2019

Pierce Bainbridge Beck Price & Hecht LLP
Attn: David Hecht
20 West 23rd Street Fifth Floor
New York, NY 10010
United States

Correspondence ID:      1-3DJ4TP3

RE:    The Dance by Alfonso Ribeiro - Variation B

Dear David Hecht:

You have submitted an application to register a copyright claim in choreography for a work titled The
Dance by Alfonso Ribeiro - Variation B. This application has been assigned U.S. Copyright Office
service request number 1-7226013290. Upon review of the material deposited for registration, we must
refuse registration for The Dance by Alfonso Ribeiro - Variation B because the work submitted for
registration is a simple dance routine. As such, it is not registrable as a choreographic work.

The Office defines choreography as the composition and arrangement of a related series of dance
movements and patterns organized into an integrated, coherent, and expressive whole. By definition,
choreography is a subset of dance, and the U.S. Copyright Office may only register a choreographic
work if it contains a sufficient amount of choreographic authorship. Compendium of US. Copyright
Office Practices§ 805.1 (3d. ed., 2017). However, the term "choreography" is not synonymous with
"dance." When drafting the current copyright law, Congress made it clear that it did not intend to protect
all forms of dance or movement, specifically stating that '"choreographic works' do not include social
dance steps and simple routines." H.R. Rep. No. 94-1476, at 54 (1976). Additionally, "[i]ndividual
movements or dance steps by themselves are not copyrightable, such as the basic waltz step, the hustle
step, the grapevine, or the second position in ballet." Compendium (Third) § 805.5(A).

The fact that a dance or movement may contain more than a trivial amount of original authorship is
irrelevant to this determination. Social dances, simple routines, and other uncopyrightable movements
are not "choreographic works" under Section 102(a)(4) of the Copyright Act. As such, they cannot be
registered, even if they contain a substantial amount of original, creative expression. For the same
reason, the Office cannot register derivative social dances or derivative simple routines. A dance that is
merely an adaptation of a social dance or simple routine is also considered a social dance or simple
routine that does not qualify as a choreographic work under Section 102(a)(4) of the Act.

The work submitted for registration with this application consists of a simple routine made up of three
dance steps, the first of which is popularly known as "The Carlton." See Compendium (Third) § 309.2
(noting that the Office may take administrative notice of facts or matters known to the Office or the
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David Hecht                          -2-                               1-3DJ4TP3


general public). The dancer sways their hips as they step from side to side, while swinging their arms in
an exaggerated manner. In the second dance step, the dancer takes two steps to each side while opening
and closing their legs and their arms in unison. In the final step, the dancer's feet are still and they lower
one hand from above their head to the middle of their chest while fluttering their fingers.

The combination of these three dance steps is a simple routine that is not registrable as a choreographic
work. Accordingly, your application for registration is refused. The Office will retain the application,
copy of the work, and the non-refundable filling fee in accordance with U.S. Copyright laws and
regulations.

This letter is for your information only; no response is necessary.

Sincerely,




Saskia Florence
Supervisory Registration Specialist
Performing Arts Division
U.S. Copyright Office

Enclosures:
 Reply Sheet
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 *1-3DJ4TP3*
Return this sheet !f you request reconsideration.
How to request reconsideration:

              •      Send your request in writing. Please note that your request must be postmarked (via the
                     U.S. Postal Service) or dispatched (via commercial carrier, courier, or messenger) no
                     later than three months after a refusal is issued.
              •      Explain why the claim should be registered or why it was improperly refused .
              •      Enclose the required fee - see below .
              •      Address your request to:
                            RECONSIDERATION
                            Copyright RAC Division
                            P.O. Box 71380
                            Washington, DC 20024-1380

              Note:         Include the Correspondence ID Number (see above) on the first page. Indicate either "First
                            Reconsideration" or "Second Reconsideration" as appropriate on the subject line.


Notification of decision: The Copyright Office will send a written notification of its decision,
including an explanation of its reasoning.

First Request for Reconsideration: The Registration Program Office considers the first request. If
it upholds the refusal, you may submit a second request.

Second Request for Reconsideration: The Copyright Office Board of Review considers the second
request. The Board consists of the Register of Copyrights and the General Counsel (or their
respective designees), and a third member appointed by the Register. The Board's decision
constitutes final agency action.

 FEES:

First Request                                           $250 per claim (i.e. the work(s) contained on one application)

Second Request                                          $500 per claim (i.e. the work(s) contained on one application)
